                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                               3:21-cv-455-MOC-DCK

XYAVIER CALLISTE,                   )
                                    )
                  Plaintiff,        )
                                    )
vs.                                 )                          ORDER
                                    )
CITY OF CHARLOTTE, et al.,          )
                                    )
                  Defendants.       )
___________________________________ )

        THIS MATTER comes before the Court on two motions to dismiss, filed by Defendants

City of Charlotte (Doc. No. 8) and Charlotte Mecklenburg police officer Xeng Lor (Doc. No. 9).

        This is an action filed pursuant to 42 U.S.C. § 1983, in which Plaintiff alleges that

Defendant Lor used excessive force against Plaintiff. Plaintiff originally filed this action in state

court, and Defendants removed it to this Court on August 30, 2021. (Doc. No. 1). Defendants

City of Charlotte and officer Lor filed the pending motions to dismiss on November 5, 2021.

Plaintiff filed an Amended Complaint on November 19, 2021. (Doc. No. 10). Because Plaintiff

has filed an Amended Complaint, the pending motions to dismiss the original Complaint are

moot.

        IT IS THEREFORE ORDERED that:

        (1) Defendants’ Motions to Dismiss, (Doc. Nos. 8, 9), shall be terminated as moot.


                                              Signed: December 2, 2021




                                                  1

        Case 3:21-cv-00455-MOC-DCK Document 18 Filed 12/02/21 Page 1 of 1
